Case 8:23-cr-00388-TPB-CPT Document 14 Filed 11/27/23 Page 1 of 7 PageID 50




                          UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


UNITED STATES OF AMERICA

v.                                                          Case No.: 8:23-cr-388-TPB-CPT

MATTHEW FREDERIC BERGWALL
__________________________________/



                      PRETRIAL DISCOVERY ORDER AND
                  NOTICE OF TRIAL AND STATUS CONFERENCE

       The Defendant has been arraigned, and in order to facilitate a self-executing procedure

to regulate discovery proceedings in the instant action and to minimize the number of “routine

or standard discovery motions” for which established rulings and precedent exist, IT IS

HEREBY ORDERED AND ADJUDGED:

       That, upon the Defendant’s request at arraignment (or in writing thereafter) to

participate in discovery and inspection pursuant to Rule 16 of the Federal Rules of Criminal

Procedure (“Rule 16”), counsel for the government shall, no later than ten (10) days from the

date of this Order (unless otherwise specified in a particular paragraph), comply with the

discovery and disclosure requirements set forth below:

                        I. Rule 16(a)(1) - Government’s Disclosure

       In accordance with Rule 16(a)(1) and as otherwise required by law, the government

shall disclose the following information and documents, which are in the government’s

possession, custody, or control, or the existence of which is known or through the exercise of

due diligence may become known to the government. Where appropriate, the government
Case 8:23-cr-00388-TPB-CPT Document 14 Filed 11/27/23 Page 2 of 7 PageID 51




shall supply copies, or make available for inspection, copying, or photographing such

information or documents.

       A.     All written, recorded, or oral statements made by the Defendant,
              including grand jury testimony, as defined in Rule 16(a)(1)(A), (B), and
              (C).

       B.     The Defendant’s prior criminal record as defined in Rule 16(a)(1)(D).

       C.     Documents, tangible objects, buildings, or places that are material to the
              preparation of the defense or were obtained from or belong to the
              Defendant or are intended for use by the government in its case-in-chief,
              as defined in Rule 16(a)(1)(E).

       D.     Results or reports of any physical or mental examination and of any
              scientific test or experiment that are material to the preparation of the
              defense or are intended for use by the government, as defined in Rule
              16(a)(1)(F).

       E.     At the Defendant’s request, the government shall disclose to the
              Defendant a written summary of any testimony the government intends
              to use under Rules 702, 703, or 705 of the Federal Rules of Evidence
              during its case-in-chief at trial. This summary must describe the
              witnesses’ opinions, the bases and the reasons therefor, and the
              witnesses’ qualifications, as set forth in Rule 16(a)(1)(G).

                        II. Rule 16(b)(1) - Defendant’s Disclosure

       Upon the government’s request for discovery, the Defendant shall promptly provide

to the government reciprocal discovery as proscribed in Rule 16(b)(1), if the Defendant has

requested discovery of the items specified in Rule 16(a)(1)(E), (F), and/or (G), and the

government has complied with the Defendant’s request.




                                              2
Case 8:23-cr-00388-TPB-CPT Document 14 Filed 11/27/23 Page 3 of 7 PageID 52




                               III. Exculpatory Information

       Without the necessity of further motions or demands, at an appropriate time but no

later than five (5) days prior to trial (unless 18 U.S.C. § 3500 or Rule 26.2 applies), the

government shall disclose to the defense the following:

       A.     The government shall reveal to the Defendant and permit
              inspection and copying of all information and material known to
              the government, which may be favorable to the Defendant on the
              issue of guilt or punishment within the scope of Brady v.
              Maryland, 373 U.S. 83 (1963); United States v. Agurs, 427 U.S. 97
              (1976); United States v. Bagley, 473 U.S. 667 (1985); and Kyles v.
              Whitley, 514 U.S. 419 (1995).

       B.     The government shall disclose to the Defendant the existence
              and substance of any payments, promises of immunity, leniency,
              preferential treatment, or other inducements made to prospective
              government witnesses, within the scope of Giglio v. United States,
              405 U.S. 150 (1972), and Napue v. Illinois, 360 U.S. 264 (1959).
              This includes making available any application to the court for
              immunity of a witness, as well as any order issued in response to
              the application. The government need not disclose papers
              generated at earlier stages of the immunity process.

       C.     The government shall supply the Defendant with a record of
              prior convictions of any witness who will testify for the
              government at trial.

       No further Brady motions or requests need be filed with the court. The Defendant,

however, may seek relief with respect to a specific dispute concerning the disclosure of

favorable evidence.




                                              3
Case 8:23-cr-00388-TPB-CPT Document 14 Filed 11/27/23 Page 4 of 7 PageID 53




                       IV. Additional Obligations of the Government

      In addition to the foregoing, the government is also subject to the following

requirements:

      A.        The government shall advise all law enforcement agents and
                officers involved in this case to retain any rough notes,
                recordings, reports, and statements pertaining to this case which
                are currently in existence. Other government employees are not
                required to retain their working papers.

      B.        The government shall not destroy any evidence in this case
                without giving ten (10) days’ notice to all defense counsel. If
                there is any objection filed to the proposed destruction, the
                government shall not destroy the evidence without first having
                obtained the court's approval to do so.

      C.        The government shall provide to the Defendant, no later than ten
                (10) days prior to trial, a list stating the general nature of any
                crimes, wrongs or acts it intends to introduce in evidence against
                the Defendant pursuant to Rule 404(b) of the Federal Rules of
                Evidence.

      D.        The government shall provide to the Defendant, no later than ten
                (10) days prior to trial, the names of any unindicted co-
                conspirators whose statements will be offered against the
                Defendant in the government’s case-in-chief pursuant to Rule
                801(d)(2)(E) of the Federal Rules of Evidence.

      E.        The Government shall state, no later than twenty (20) days from
                the date of this Order, whether electronic surveillance of any
                kind, or a mail cover, was used in this case. If the answer is in
                the affirmative, the government shall state the nature of
                surveillance and its duration.

      F.        The government shall state, not later than ten (10) days from the
                date of this Order, whether any confidential informant was used
                in this case.
                                               4
Case 8:23-cr-00388-TPB-CPT Document 14 Filed 11/27/23 Page 5 of 7 PageID 54




       G.     The government shall state whether a Defendant was the subject
              of electronic surveillance as defined in 18 U.S.C. § 2510(11), and,
              if so, shall set forth in detail the circumstances thereof, including
              copies of the application(s), affidavit(s), and order(s).

       H.     The government shall state whether a Defendant was identified
              in any lineup, showup, photo spread, or similar identification
              proceeding, and shall produce any pictures utilized or resulting
              therefrom within ten (10) days of the date of this Order, or
              immediately, if the identification is completed after the date of
              this order.

       I.     The government shall state, no later than ten (10) days from the
              date of this Order, whether any evidence to be introduced at trial,
              or leads therefrom, were obtained as a result of a search warrant
              issued under Rule 41.

                              V. Continuing Duty to Disclose

       As proscribed in Rule 16(c), it shall be the continuing duty of counsel for the parties to

promptly reveal to opposing counsel all newly discovered information or material(s) within

the scope of this Standing Order and Rule 16.

                            VI. Procedures and Related Matters

       As indicated, the purpose of this Order is to regulate the discovery proceedings in this

case in accordance with the goals of Rule 16, and to eliminate or minimize the filing of

standard discovery motions. Accordingly, motions covered by Sections I, II, III, and IV of

this Order should not be filed as they are unnecessary. The government need not respond to

motions that appear to be covered by this Order. If the Court determines that a response is

required, the government will be directed to file a response.




                                               5
Case 8:23-cr-00388-TPB-CPT Document 14 Filed 11/27/23 Page 6 of 7 PageID 55




       Absent good cause, the Court will not entertain any motion relating to discovery unless

counsel for the moving party certifies that counsel for the parties have been unable to resolve

their differences or to reach agreement after holding a conference, or that opposing counsel

has refused to confer without good cause. The Court will deny without prejudice any

discovery motion that does not contain such a statement.

                                    VII. Pretrial Motions

       Unless otherwise ordered or permitted by the trial judge, pretrial motions attacking the

sufficiency of the Indictment or seeking a bill of particulars shall be filed within fifteen (15)

days of the date of arraignment and motions to suppress shall be filed within thirty (30) days

of the date of arraignment. Unless otherwise ordered or permitted by the trial judge, any

notice called for by Rules 12.1, 12.2, or 12.3 related to an alibi defense, an insanity defense,

or expert testimony of the Defendant’s mental condition, or a defense based upon public

authority shall be served no later than thirty (30) days from the date of arraignment absent

good cause shown.

                     VIII. Notice of Trial Date and Status Conference

       This case is set before the Honorable Thomas P. Barber, United States District Judge,

for the trial term beginning January 2, 2024, and for a status conference on December 18,

2023, at 9:30 a.m.

       AFTER THE FIRST DAY OF THE TRIAL TERM, ALL COUNSEL SHALL BE

AVAILABLE AND READY FOR TRIAL UPON 24 HOURS NOTICE.




                                               6
Case 8:23-cr-00388-TPB-CPT Document 14 Filed 11/27/23 Page 7 of 7 PageID 56




      SO ORDERED at Tampa, Florida, this 27th day of November 2023.




Copies to:
Counsel of record




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